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    BURBERRY LIMITED, a United Kingdom company, and BURBERRY LIMITED, a New York corporation v. 
                              ZHI YING WU, et al. ‐ Case No. 18‐cv‐02704 

                                                  

                                        Schedule A 
 

    No.    Defendant Name / Alias                  No.  Defendant Name / Alias 
      1    Zhi Ying Wu                               2 zhengxian bin 
      3    Zheng shibin                              4 Zheng Hong Jin 
      5    zhao yantao                               6 zhao dequn 
      7    zhao dequn (2)                            8 zhao de qun 
      9    zhangxue xiang                          10 Zhang Yu 
     11    zhang yong tao                          12 zhang xinke 
     13    zhang xiaohui                           14 zhang wu 
     15    Zhang Guo Ming                          16 Yue Xu 
     17    You Shi Long                            18 Yin YuYing 
     19    Yin Yu Ying                             20 yehua guo 
     21    Ya Ban Chen                             22 xuemei liu 
     23    xuemei liu (2)                          24 Xue Mei Liu 
     25    xinke zhang                             26 Xia Wang 
     27    Wu Zhi Ying                             28 wang xiansheng 
     29    wang xia                                30 Uwe Rothstein 
     31    tracy                                   32 Tom Eisenberg 
     33    thomas jackson                          34 Theresa Jones 
     35    Tess Lindgren                           36 tao xu 
     37    tan ping                                38 Steven Bachman 
     39    shijie Li                               40 shi jianwei 
     41    Sarah Sherman                           42 Samuel Butler 
     43    Russell Colclough                       44 Randall Robinett 
     45    Ping Zhou                               46 Paul Dexter 
     47    Orlowska renata                         48 niklas grunwald 
     49    mybestabag.com                          50 Michael Freeman 
     51    Michael Flint                           52 Michael Correa 
     53    Matthew Mason                           54 mary hamlin 
     55    Mario Clinkscales                       56 Marina Hoch 
     57    marcel faust                            58 malandrino catherine 
     59    lynn patchell                           60 lu qiu ping 
     61    liuxuemei                               62 liu xuemei 
     63    liu xuemei (2)                          64 liu xue mei 
     65    Liu Wei Hong                            66 linjun cheng 

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    No.    Defendant Name / Alias                         No.    Defendant Name / Alias 
     67    Liang Guang Wei                                 68    li wei wei 
     69    Leslie Padilla                                  70    Larry Molina 
     71    Lane Samuel                                     72    jun hui 
     73    John Taylor                                     74    John Bruce 
     75    Jennifer Sandridge                              76    James Jordan 
     77    Huey Lown                                       78    huang huiqing 
     79    Hermansson Hellstrom                            80    Helene Bloom 
     81    he yaolong                                      82    guangpu liang 
     83    Gilbert Haggard                                 84    Gertrude Devore 
     85    Francisco Hernandez                             86    Domain Admin 
     87    dequn zhao                                      88    dequn zhao (2) 
     89    DengShuangLian ShuangLian                       90    Dai ManJu 
     91    Cyril Miller                                    92    Curtis Washington 
     93    Christine Olguin                                94    chris bond 
     95    chen wu                                         96    Broderick Gage 
     97    Betty Pietsch                                   98    Bertha Henderson 
     99    anna voris                                     100    Anita Douglass 
    101    Andrew Baldwin                                 102    adam torres 
    103    Guangzhou Yuxi Leather Limited Company         104    Shanghai Yecheng Printing Co., Ltd. 
    105    Yiwu Xuanpai Garments Co., Ltd.                106    Gorgeous Styles 
    107    sarakong 2 Store                               108    Strongking Factory Store 
    109    Veri Gude Official Store                       110    Witchery Store  
    111    Women Clothes Home                             112    XIAGUOCAI Factory Store 
    113    AFILADO 3C Accessories Store                   114    AIKEKA Store 
    115    Anna's Brand Bag Store                         116    baby child store 
    117    Banjolu Official Store                         118    blinzefia Store 
    119    BURDULLY Factory Store                         120    burdullyfashion store 
    121    Differentes Store                              122    Dollbling Store 
    123    Dongqingsiyu Official Store                    124    F H in love 
    125    Fashion Angel Co.,LTD                          126    GoodGoods Store 
    127    GouGouYu Store                                 128    HangZhou Scarves& Wrap Centre Store 
    129    Hanscarf global Store                          130    HAYBLST WL Store 
    131    he and she store                               132    hesen trade 
    133    high quality children baby                     134    hlhphq Store 
           jackets&dresses&sets& 
    135  Hoodies men women fashionable SHIRT           136 I LEEBAY Costume Store 
         Streetwear Store 
    137  Ibaymall pregnant baby clothing               138 joymuch 8855 store 
    139  JUMBOCASE Online Store                        140 kids pregnancy baby retail & wholesale 
    141  kids supplies big Discount shop               142 kisskeet store 


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    No.    Defendant Name / Alias                 No.    Defendant Name / Alias 
    143    loveyurang Store                       144    Mcoyderm Store 
    145    Minos                                  146    mojonoo factory store 
    147    NINI RUSI Top1 Store                   148    pksaq infant child store 
    149    qisha official store                   150    QQ Children Store 
    151    SAUNORCH Official Store                152    Secret bay 
    153    shirt franchise store                  154    shop2784226 store 
    155    Shop2974001 Store                      156    Shop3072004 Store 
    157    Shop3087069 Store                      158    Shop3217153 Store 
    159    Somiseed                               160    SooSoo Store 
    161    star fashion cosplay                   162    tradeing clothes co., ltd. store 
    163    U&Z Trend shoe Store                   164    Urban Clothes Store 
    165    vomint store                           166    Wkmall Store 
    167    Women Clothes Retail Store             168    World Best Kids Clothes Store 
    169    World Factory Store                    170    XJ foreign trade clothing 
    171    XUNYICHINA Store                       172    YISHEN Bag Store 
    173    Yiwu Headdress                         174    Yiwu HuanRui Store 
    175    yofaqc store                           176    Zoe Saldana Unique Store 
    177    Auspicious Beauty Trendy Store         178    FURART fur's Store 
    179    Shop206643 Store                       180    True Love Commodity Wholesale Co.,Ltd. 
    181    u happiness shopping Store             182    24hbabyonline‐dress 
    183    447hk_meeqia                           184    lixuxia‐0 
    185    loveforever2018                        186    new_casual_friday 
    187    sunnylife25                            188    dujuan19840511 
    189    zhaocaimao99888                    
 

    No.  Defendant Marketplace URL             No. Defendant Marketplace URL 
      1  ivemeycase.en.alibaba.com               2 shyecheng.en.alibaba.com 
      3  ywxuanpai.en.alibaba.com                4 gorgesonline2015.aliexpress.com/store 
                                                   /2008060 
      5    aliexpress.com/store/3272031            6     aliexpress.com/store/900818 
      7    aliexpress.com/store/1180514            8     aliexpress.com/store/2664101 
      9    aliexpress.com/store/1352217           10     aliexpress.com/store/3109086 
     11    aliexpress.com/store/2191071           12     aliexpress.com/store/3115090 
     13    aliexpress.com/store/929205            14     aliexpress.com/store/3205061 
     15    aliexpress.com/store/732032            16     aliexpress.com/store/3240127 
     17    aliexpress.com/store/3145035           18     aliexpress.com/store/538032 
     19    aliexpress.com/store/1920559           20     aliexpress.com/store/2347344 
     21    aliexpress.com/store/2626003           22     aliexpress.com/store/2217070 
     23    aliexpress.com/store/1626378           24     aliexpress.com/store/2400089 
     25    aliexpress.com/store/2850054           26     aliexpress.com/store/2348134 

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    No.    Defendant Marketplace URL               No. Defendant Marketplace URL 
     27    aliexpress.com/store/3204086            28 aliexpress.com/store/2934053 
     29    aliexpress.com/store/2411088            30 aliexpress.com/store/1091405 
     31    aliexpress.com/store/3628067            32 aliexpress.com/store/3281004 
     33    aliexpress.com/store/2840086            34 aliexpress.com/store/1129024 
     35    aliexpress.com/store/609713             36 aliexpress.com/store/2064139 
     37    aliexpress.com/store/127653             38 aliexpress.com/store/1333977 
     39    aliexpress.com/store/1924854            40 aliexpress.com/store/1775689 
     41    aliexpress.com/store/2882289            42 aliexpress.com/store/2965110 
     43    aliexpress.com/store/1685274            44 aliexpress.com/store/3110072 
     45    aliexpress.com/store/1938092            46 aliexpress.com/store/3244043 
     47    aliexpress.com/store/134549             48 aliexpress.com/store/3256115 
     49    aliexpress.com/store/1762426            50 aliexpress.com/store/1924588 
     51    aliexpress.com/store/3622078            52 aliexpress.com/store/2784226 
     53    aliexpress.com/store/2974001            54 aliexpress.com/store/3072004 
     55    aliexpress.com/store/3087069            56 aliexpress.com/store/3217153 
     57    aliexpress.com/store/1904397            58 aliexpress.com/store/3192046 
     59    aliexpress.com/store/327599             60 aliexpress.com/store/2413077 
     61    aliexpress.com/store/1970216            62 aliexpress.com/store/2133192 
     63    aliexpress.com/store/2091016            64 aliexpress.com/store/2689023 
     65    aliexpress.com/store/2139223            66 aliexpress.com/store/1299103 
     67    aliexpress.com/store/3215027            68 aliexpress.com/store/1497907 
     69    aliexpress.com/store/2340152            70 aliexpress.com/store/614722 
     71    aliexpress.com/store/1748574            72 aliexpress.com/store/2656101 
     73    aliexpress.com/store/3091067            74 aliexpress.com/store/2343137 
     75    aliexpress.com/store/3147034            76 aliexpress.com/store/2967094 
     77    aliexpress.com/store/206643             78 aliexpress.com/store/312756 
     79    aliexpress.com/store/2786034            80 ebay.com/usr/24hbabyonline‐dress 
     81    ebay.com/usr/447hk_meeqia               82 ebay.com/usr/lixuxia‐0 
     83    ebay.com/usr/loveforever2018            84 ebay.com/usr/new_casual_Friday 
     85    ebay.com/usr/sunnylife25                86 ioffer.com/selling/dujuan19840511 
     87    ioffer.com/selling/zhaocaimao99888     
 

    No.    Defendant Domain Name                   No.  Defendant Domain Name 
      1    wallspaceimages.com                       2 skydivingminneapolis.com 
      3    cyborgglitch.com                          4 zippitydoodogs.com 
      5    irishcocopeat.com                         6 coisadegordo.com 
      7    cssrpim.com                               8 burberryoutlet.in.net 
      9    aubreychaparrals.com                    10 francinibeautysalon.com 
     11    doshdeal.com                            12 deccanherbs.com 
     13    burberryhandbagsvip.com                 14 outletburberry‐bags.com 

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    No.    Defendant Domain Name              No.  Defendant Domain Name 
     15    abellephotography.com              16 newparkplanet.com 
     17    yaccogarantiemoto.com              18 ashabusinesssolutions.com 
     19    cedric‐cledassou.com               20 digiorch.com 
     21    replica‐bags.us.com                22 creacionesgabysos.com 
     23    fantasticfauxfinishes.com          24 flowerdeliverysantacruz.com 
     25    naturesgracephotography.com        26 kidsroom‐nonnon.com 
     27    outputradionl.com                  28 wankebi.us 
     29    lchsmarchingband.com               30 udt‐tr.com 
     31    promowareprinting.com              32 pinkaliciouspops.com 
     33    goldcoastwf.com                    34 prop518.com 
     35    royaltoprest.com                   36 kaleidoscope‐faces.com 
     37    concededrock.com                   38 cellcase.online 
     39    eleanoreosborne.com                40 mkmontressolde.com 
     41    childrena.com                      42 pusatidcard.com 
     43    carolinasiscebs.org                44 kagishodikgacoi.org 
     45    ordoclavis.org                     46 pakistannewspapers.org 
     47    chantelleswhite.com                48 cubtexarkana.com 
     49    themarque‐cambridge.com            50 onlyrowingmachines.com 
     51    shaktiyogamiami.com                52 stevemilleragency.com 
     53    muranoofdelraybeach.com            54 patricia‐patterson.com 
     55    drhernandotorres.com               56 horseball‐italia.com 
     57    roydraper.com                      58 togetherenglish.com 
     59    lorddavidnelson.com                60 djmarcuscooper.com 
     61    clubegaivota.org                   62 hakankutluyurdu.org 
     63    rancho‐maze‐band.org               64 boiseelectricalcontractor.org 
     65    gtbaogolf.org                      66 adottare.org 
     67    durmusoglumuhendislik.com          68 jordanhomesboise.com 
     69    kapadokyatekstil.com               70 caffeinatedonline.com 
     71    hcsacademy‐indonesia.com           72 iconographyby.com 
     73    planetbeachdoral.com               74 theflipsidetoday.com 
     75    atlkids.org                        76 pitrm.org 
     77    smokerslungs.org                   78 valvertluisant.org 
     79    newlifecedarburg.org               80 mytechbox.org 
     81    revball.org                        82 romeapartments.org 
     83    monitoringgps.org                  84 knowcase.store 
     85    mybags.store                       86 instagrambags.com 
     87    deborahsalebutler.com              88 sleek‐studio.com 
     89    bagsoutlet.pw                      90 youneedgigi.com 
     91    globales‐sourcing.com              92 amarylliz.com 
     93    mcleanrugs.com                     94 champion‐rankings.com 


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    No.    Defendant Domain Name                 No.    Defendant Domain Name 
     95    batmancostumesforkids.com              96    mybestabag.com 
     97    adecland.com                           98    ecseller.online 
     99    oforget.online                        100    promenadecat.online 
    101    edetroit.online                       102    hostmap.online 
    103    okiser.online                         104    uscdns.com 
    105    greatoutdoorsmobile.com               106    kleinlegalsearch.com 
    107    marwerollerskis.com                   108    polkadotsundaybeauty.com 
    109    hesterhouseblog.com                   110    wearephast.com 
    111    movinghelpers.org                     112    bevaawswrdi.store 
    113    bitofheavenfarmga.com                 114    enovotec.com 
    115    burberrysale.club                     116    fitalkers.com 
    117    aqueductresults.com                   118    carbonadvantageprogram.com 
    119    kvcrpfmokama.org                      120    latopbrand.com 
    121    calebchanceyblogs.com                 122    royalworldtechnologies.com 
    123    storeburberry18.com                   124    brands372.com 
    125    webriginals.com                       126    newbfcoupon.com 
    127    howwouldyourate.com                   128    stoshwolfen.com 
    129    cinarcikguvenemlak.com                130    decorativeconcretecanton.com 
    131    tuerkischerezepte.com                 132    apachegroupllc.com 
    133    columbusindiemusicunion.com           134    mgdetective.com 
    135    stuccostonesidingidaho.com            136    hospedajelargaestanciaguadalajara.com 
    137    costablancagolfleague.com             138    elhadadelaschuches.com 
    139    grandcaymanhaven.com                  140    machineteksystems.com 
    141    writeclubwithstellaorange.com         142    stargranit.com 
    143    talkaboutfoodjb.com                   144    superdigitaltechnology.com 
    145    justinsfightclub.com                  146    rollerplexskatecenter.com 
    147    atylerslife.com                       148    caeliqartel.com 
    149    catorsocialmedia.com                  150    kurbanhisse.com 
    151    scanningsandiego.com                  152    stpaulspsderry.com 
    153    mmprintfinishers.com                  154    brandsell.shop 
    155    startextrim.com                       156    republicanpartyofokeechobee.com 
    157    terawhitaker.com                      158    virtualchautauqua.com 
    159    ristorantelegrenier.info              160    burberry.us.com 
    161    luxuryfakes.com                       162    tainong.org 
    163    choreusdatacenters‐paris.com          164    cutiepetsupply.com 
    165    djbarrythomas.com                     166    boutiquehollywood.com 
    167    lvshop.club                           168    hellomicki.top 
    169    hellomickijerseys.top                 170    charglennmd.org 
    171    clfrabboni.org                        172    libertymotorsgrassvalley.com 
    173    homewoodsuitesaustin.com              174    insantaquin.com 


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    No.    Defendant Domain Name                No.    Defendant Domain Name 
    175    kendreengineers.com                  176    annajihad.com 
    177    hotelcostasolalmeria.com             178    fostersbarkingmonkey.com 
    179    clubvillacubas.com                   180    spreihandukmurah.com 
    181    freshohio.org                        182    housingforhaiti.org 
    183    parcaboyama.org                      184    wholesalecaps.club 
    185    iheartpetrescue.org                  186    citrahandbags.com 
    187    gadgetmoto.com                       188    ytmedianetwork.com 
 




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